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                                                                      By                     _      :
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8                              IN THE UNITED STATES DISTRICT COURT
                               EGR THE NORTHERN MARIANA ISLANDS
9


10    JOSE C. MAFNAS,                                     Civil Case No
                                                                        ,CV         22-0 0009
11                    Plaintiff,
                                                          VERIFIED COMPLAINT
12
                        vs.

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      WILLIAM M.CASTRO,in his personal
14
      capacity, and in his oftlcial capacity as the
15
      Chief of Staff of the Office of the Governor,
      DAVID DLG. ATALIG,in his personal
16    capacity, and in his official capacity as the
      Secretary of Finance of the Department of
17
      Finance, and THE COMMONWEALTH
      OF THE NORTHERN MARIANA
18
      ISLANDS,
19

                       Defendants.
20


21
            Plaintiff Jose C. Mafnas ("Plaintiff), through Attorney Charity Hodson, complains
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     against Defendants William M. Castro ("Defendant Castro"), in his personal capacity and in his
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24   official capacity as the Chief of Staff to the Office of the Governor, David DLG. Atalig, in his

25   personal capacity and in his official capacity as the Secretary of Finance ("Secretary of
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